          Case 3:20-cv-00568-LRH-WGC Document 32 Filed 11/03/21 Page 1 of 2



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 8                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
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10 UNITED STATES OF AMERICA,                         3:20-CV-568-LRH-WGC
11                 Plaintiff,                        Order Granting The United States of
12          v.                                       America’s Unopposed Motion to
                                                     Withhold Decision on the Pending Motion
13 $357,965.00 IN UNITED STATES                      for Summary Judgment (ECF No. 24)
   CURRENCY,
14
                Defendant.
15

16           MOTION AND MEMORANDUM OF POINTS AND AUTHORITIES

17         Pending before the Court is Plaintiff United States of America’s Motion for

18 Summary Judgement, ECF No. 24, Claimant Daniel Hulsey, Jr.’s Response, ECF No. 27,

19 and Plaintiff’s Reply, ECF No. 29. The parties have reached an agreement on the major

20 terms of settlement for this matter. Currently, the parties are finalizing the settlement

21 paperwork and anticipate that a settlement agreement will be filed with the Court for

22 approval within approximately thirty days.

23         In light of the high likelihood that this matter will be resolved via settlement in the

24 near future, the parties ask this Court to withhold its decision on the pending Motion for

25 Summary Judgment for thirty days, by which time the parties will either file a settlement

26 agreement for Court approval or provide the Court with a joint status report. The parties

27 believe that this course of action will promote prompt resolution of this matter by

28 settlement and likely save the parties and the Court substantial time and resources.
           Case 3:20-cv-00568-LRH-WGC Document 32 Filed 11/03/21 Page 2 of 2



 1          Plaintiff has filed this motion as unopposed based on Claimant’s counsel’s consent.

 2   That consent was conveyed to Plaintiff on October 29, 2021.

 3          For the above reasons, the parties ask this Court to order that (1) a decision on

 4   Plaintiff’s Motion for Summary Judgment will be withheld for at least thirty days; and (2)

 5   by thirty days from the Court’s Order the parties will either submit a settlement agreement

 6   for Court approval or file a joint status report advising the Court of the case’s posture.

 7          Dated this 29th day of October 2021.

 8                                                   Respectfully submitted,
 9                                                   CHRISTOPHER CHIOU
                                                     Acting United States Attorney
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                                                      /s/ James A. Blum
11                                                   JAMES A. BLUM
12                                                   Assistant United States Attorney

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                                                     IT IS SO ORDERED:
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                                                     LARRY R. HICKS
19                                                   UNITED STATES DISTRICT JUDGE
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21                                                   DATED: November 3, 2021.

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